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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA’

CASE SUMMARY

Case Number

U.S.A. v. GILBERT MYERS, JR.

Indictment [_] Information

Investigative agency (FBI, DEA, etc.) FBI

Defendant Number 1
Year of Birth 1976

NOTE: All items are to be completed. Information not applicable or unknown shall be indicated as "N/A."

OFFENSE/VENUE
a. Offense charged asa:

[-] Class A Misdemeanor [=] Minor Offense [7] Petty Offense
[] Class C Misdemeanor [¥] Felony

[_] Class B Misdemeanor

b. Date of Offense September 2012-January 2014
c. County in which first offense occurred

Los Angeles
‘d. The crimes charged are alleged to have been committed in:

CHECK ALE THAT APPLY

Los Angeles
Orange

[_] Riverside

[_] San Bernardino

[_] Ventura

[_] Santa Barbara

[_] San Luis Obispo

[_] Other

Citation of Offense 18.U.S.C. § 1349: Conspiracy to Commit
Wire Fraud; 18 U.S.C. § 1343: Wire Fraud; 18 U.S.C. § 2

RELATED CASE

Has an indictment or information involving this defendant and
the same transaction or series of transactions been previously
filed and dismissed before trial? [_] No [_] Yes
IFYES | CaseNumber N/A .

Pursuant to Section 11 of General Order 08-05, criminal cases

may be related if a previously filed indictment or information .

and the present case:

a. arise out of the same conspiracy, common scheme,
transaction, series of transactions or events; or

b, involve one or more defendants in common, and would
entail substantial duplication of labor in pretrial, trial or
sentencing proceedings if heard by different judges. -

Related case(s), if any: MUST MATCH NOTICE OF RELATED

CASE N/A

PREVIOUSLY FILED COMPLAINT

A complaint was previously filed on: N/A -

: a
Case Number N/A nm 3
Charging N/A a5
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. ad ware CQ, f amine
The complaint: [_] is still-pendingon ro
i O-4—- : I
[J] wasdismissedon: N/A | Pox. = Fy
fe ce =
PREVIOUS COUNSEL noo
i ce] oe
Was defendant previously represented?"™? [Zp No [_] Yes”
i * :
IF YES, provide, Name: N/A
Phone Number; N/A
COMPLEX CASE
Are there 8 or more defendants in the Indictment/Information?
[_] Yes* No

Will more than 12 days be required to present government's
evidence in the case-in-chief?
[_] Yes* No

*AN ORIGINAL AND 1 COPY (UNLESS ELECTRONICALLY FILED)
OF THE NOTICE OF COMPLEX CASE MUST BE FILED 2 BUSINESS
Dae BEE ORE THE ARRAIGNMENT IF EITHER YES BOX IS

Superseding Indictment/Information

[_] Yes [_] No

IS THIS A NEW DEFENDANT?

This is the superseding charge, i.e. 1st, 2nd.
The superseding case was previously filed on:
N/A

Case Number N/A
The superseded case:

[_] is still pending before Judge/Magistrate Judge

N/A

L_] was previously dismissed on N/A .
Are there 8 or more defendants in the superseding case?
[_] Yes* [-] No

Will more than 12 days be required to present government's
evidence in the case-in-chief?

[] Yes* [_] No

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CASE SUMMARY

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE SUMMARY

Was a Notice of Complex Case filed on the Indictment or
Information?:

[_] Yes [-] No

*AN ORIGINAL AND 1 COPY OF THE NOTICE OF COMPLEX CASE
MUST BE FILED 2 BUSINESS DAYS BEFORE THE ARRAIGNMENT IF

EITHER YES BOX IS CHECKED.

is an interpreter required? [_] YES NO
IF YES, list language and/or dialect:
N/A
OTHER
Male [_] Female

U.S. Citizen
Alias Name(s) JR Myers

[_] Alien

This defendant is charged in: All counts

[] Only counts:

[] This defendant is designated as "High Risk" per
18 USC § 3146 (a)(2) by the U.S. Attorney.

[_] This defendant is designated as "Special Case" per

18 USC § 3166 (b){7).
Is defendant a juvenile? [ ]Yes- No
IF YES, should matter be sealed? [_] Yes No

The area of substantive law that will be involved in this case
includes: ° , -
[_] financial institution fraud [_] public corruption
[] tax offenses
mail/wire fraud

[_] immigration offenses

[_] government fraud
[_] environmental issues
[_] narcotics offenses

["] violent crimes/firearms |] corporate fraud

[-] Other

CUSTODY STATUS
Defendant is not in custody:

a. Date and time of arrest on complaint: N/A

b. Posted bond at complaint level on: N/A

in the amount of $ N/A

c. PSA supervision? [_] Yes [-] No

d. Is on bail or release from another district:

N/A

Defendant is in custody:

a. Place of incarceration:

[_] State |] Federal

b. Name of Institution: N/A

c. If Federal: U.S. Marshal's Registration Number:

_ N/A

d.[__] Solely on this charge. Date and.time of arrest:

N/A
e. On another conviction: [_] Yes [] No
IFYES: [_] State [_] Federal [] Writ of Issue
f. Awaiting trial on other charges: : Cc] Yes [] No
IF YES: [_] State

[_] Federal AND

Name of Court: N/A
Date transferred to federal custody: N/A

This person/proceeding is transferred-from another district

pursuant to F.R.Cr.P. 20 21 40

"EXCLUDABLE TIME

Determinations as to excludable time prior to filing indictment/information. EXPLAIN: N/A

Date 06/06/2014

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Signature of Assistant U.S. Attorney
EDWARD E. ALON
Print Name

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CASE SUMMARY

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